           Case 2:10-cr-00009-KJM Document 41 Filed 03/17/11 Page 1 of 15

 1
 2
 3
 4
 5
 6
 7
 8                       UNITED STATES DISTRICT COURT
 9                      EASTERN DISTRICT OF CALIFORNIA
10                                ----oo0oo----
11   UNITED STATES OF AMERICA,
                                             NO. 2:10-cr-00009 FCD
12             Plaintiff,
13        v.                                 MEMORANDUM AND ORDER
14   ANTONIO GUERRERO, FRANCISCO
     GARIN,
15
               Defendants.
16   _____________________________/
17                                ----oo0oo----
18        Defendants Antonio Guerrero (“Guerrero”) and Francisco Garin
19   (“Garin”) (collectively, “defendants”) are charged in the
20   indictment with possession with intent to distribute
21   methamphetamine in violation of 21 U.S.C. § 841(a)(1) and
22   criminal forfeiture.    This matter is before the court on
23   defendants’ (1) motion to suppress evidence seized by law
24   enforcement officers during the search of a car on December 15,
25   2009 in violation of the Fourth Amendment; and (2) motion to
26   suppress any statements made by defendants after the traffic stop
27   in violation of the Fifth Amendment privilege against self-
28

                                         1
                 Case 2:10-cr-00009-KJM Document 41 Filed 03/17/11 Page 2 of 15

 1   incrimination.1         The United States of America (the “government”)
 2   opposes the motions.          The court held an evidentiary hearing on
 3   December 3, 2010 and February 25, 2011.             Having reviewed the file
 4   herein and heard the testimony of witnesses and arguments of
 5   counsel, the court DENIES defendants’ motions to suppress.
 6                                       BACKGROUND2
 7           On December 15, 2011, Officer Douglas Mertz (“Mertz”), an
 8   officer for the California Highway Patrol (“CHP”) assigned to the
 9   Criminal Apprehension Program as a K-9 handler, was monitoring
10   traffic on Interstate 5 after a rainstorm.              At approximately
11   11:30 a.m., he and his partner, Officer Todd Newman (“Newman”)
12   were sitting in their respective patrol cars in the center divide
13   area of the highway just north of the Glenn County line.                 Mertz
14   was facing southbound and monitoring traffic traveling
15   northbound.
16           The speed limit on that stretch of highway was 70 miles per
17   hour.       There was a break in traffic, and Mertz observed a vehicle
18   traveling northbound in the number two lane at an estimated speed
19   of 75 miles per hour.          Mertz then activated his front radar
20   antenna and captured the speed of the vehicle at 77 miles per
21   hour.3       As the car slowed down and passed, Mertz noticed that the
22
             1
               Defendants withdrew their Motion to Suppress statements
23   made by defendants at CHP headquarters.
24           2
               The facts are taken from the testimony and evidence
     received at the evidentiary hearing held on December 3, 2010 and
25   February 25, 2011. The court finds Officer Mertz to be credible.
     To the extent that Mertz’s testimony conflicts with that of
26   defendants, the court accepts Mertz’s version of the facts.
27           3
               Mertz testified that, pursuant to department policy, he
     tested the radar unit at the beginning and end of his shift and
28   that it was functioning properly at both times.

                                               2
              Case 2:10-cr-00009-KJM Document 41 Filed 03/17/11 Page 3 of 15

 1   front driver and rear back windows were tinted.            He also noticed
 2   that there was some type of object hanging from the rearview
 3   mirror.
 4        Mertz made a U-turn and caught up to the vehicle.             He then
 5   pulled his patrol vehicle behind the car, activated the front
 6   emergency lights, and conducted an enforcement stop.             Mertz
 7   testified that the primary purpose of the stop was for the
 8   speeding violation; however, he also had suspicions that the tint
 9   on the windows and the item hanging from the rearview mirror
10   might be illegal.4      The vehicle yielded to the right shoulder and
11   stopped.     Mertz pulled his patrol car behind the vehicle.
12        Mertz exited his patrol car and approached the vehicle on
13   the right side; he made contact with the two occupants through
14   the right open window.       He explained that the reason for the stop
15   was the tinted windows and the speeding violation.            He then asked
16   the driver, Guerrero, for his licence and the vehicle
17   registration.      Mertz noted that the registered owner was
18   different than the name on the driver’s license.            He also noted
19   that the address and the city on the license was different than
20   the address and the city on the registration.
21        Mertz asked the driver to exit the vehicle so he could ask
22   him questions regarding the discrepancies between the information
23   on the driver’s license and on the vehicle registration.5
24
          4
               Mertz testified that once he approached the car after
25   the stop, he saw that the object hanging from the rearview mirror
     was a small necklace-type object that wasn’t attached to the
26   windshield and, as such, was not a violation.
27        5
               Mertz testified that he asked him to exit the vehicle,
     in part, for office safety concerns. Specifically, he asks
28   drivers to step out of a vehicle during a traffic stop on a

                                            3
                 Case 2:10-cr-00009-KJM Document 41 Filed 03/17/11 Page 4 of 15

 1   Guerrero exited the vehicle and stood near the right front of
 2   Mertz’s patrol car.          Mertz asked Guerrero who the owner of the
 3   vehicle was.         Guerrero told him that he didn’t know who the owner
 4   was and that the owner was a friend of the passenger.
 5           Mertz then reapproached the vehicle and asked the passenger,
 6   Garin, who the owner of the vehicle was.              Garin told him that he
 7   didn’t know who the owner was and that the owner was a friend of
 8   the driver.         Mertz then asked Garin where he was coming from, the
 9   purpose of this trip, and the duration of his trip.                Garin
10   responded that he and Guerrero had driven to Madera6 to look for
11   work, were unable to find work, had stayed in Madera for two
12   days, and were on their way home.             Mertz spoke to both Guerrero
13   and Garin in English; they responded in both Spanish and English.
14           Mertz then reapproached Guerrero and asked him where he was
15   coming from, the purpose of this trip, and the duration of his
16   trip.       Guerrero responded that he and Garin had driven to Madera
17   to visit family, had stayed in Madera for eight days, and were on
18   their way home.         Mertz did not have any further conversations
19   with either defendant; neither defendant made any further
20   statements.
21           This exchange lasted approximately two or three minutes.
22   Based upon the inconsistencies between the information on the
23   driver’s license and on the vehicle registration as well as the
24   inconsistencies in the answer’s given by Guerrero and Garin,
25
26   regular basis in order to separate them from any weapons that may
     be in the vehicle and to eliminate the possibility of speeding
27   away from the scene.
28           6
                     Madera is a town in the Central Valley of California.

                                               4
              Case 2:10-cr-00009-KJM Document 41 Filed 03/17/11 Page 5 of 15

 1   Mertz suspected that one or both of the subjects were involved in
 2   some type of criminal activity.         Mertz requested via radio that
 3   his partner, Newman, respond to the location of the traffic stop.
 4   He also contacted the CHP dispatch center and requested a
 5   registration check on the vehicle.          It took Newman approximately
 6   two minutes to arrive at the scene, where Mertz briefed him about
 7   what had transpired since the traffic stop.           Around the same
 8   time, Sergeant Greg Ross (“Ross”), who had been driving through
 9   the area and heard the dispatch on the radio, pulled behind
10   Newman’s car.
11           Mertz reapproached the vehicle and asked Garin to exit the
12   vehicle.     He then escorted both Garin and Guerrero to the rear
13   portion of his patrol vehicle.         Mertz testified that he escorted
14   defendants to this location in preparation of getting his dog out
15   of the car; he didn’t want defendants standing right next to his
16   dog for safety purposes.        Newman stood next to defendants.
17           Mertz retrieved his dog on leash, walked to the vehicle, and
18   began walking the dog around the vehicle in a counterclockwise
19   direction from the right rear corner of the vehicle.             As the dog
20   reached the right rear wheel well, he showed a distinct change of
21   behavior, which Mertz recognized as the sign of alert.             As Mertz
22   continued around the vehicle to the back trunk area, the dog
23   again showed a distinct change of behavior in the left trunk seam
24   area.    Mertz then opened the passenger door of the vehicle, took
25   his dog off the leash, and deployed the dog to the side of the
26   vehicle.     The dog jumped in the back seat and began to alert at
27
28

                                            5
              Case 2:10-cr-00009-KJM Document 41 Filed 03/17/11 Page 6 of 15

 1   the area where the seat reached the right quarter panel.7             Mertz
 2   advised both Newman and Ross what had occurred.            Mertz also asked
 3   Newman to handcuff both defendants.           This was approximately ten
 4   minutes after Mertz had effected the traffic stop of defendants.
 5        Newman then retrieved his dog and deployed the dog to the
 6   exterior of the vehicle.        The dog also alerted to the rear trunk
 7   area of the vehicle.       Newman then opened the door of the vehicle
 8   and let the dog go inside.        The dog went to the back seat and
 9   began to alert at the left quarter panel.
10        Mertz then conducted a hand-search of the vehicle, beginning
11   in the rear right side by the right quarter panel.            He used his
12   hand to press in the panel, and felt metal behind the plastic
13   panel.     He then took an upholstery tool to pop out the plastic
14   panel.     Mertz then observed a trunk latch and a mechanism used to
15   seal that compartment.       He could also see numerous packages, each
16   of which appeared to be wrapped in cling wrap.            Mertz
17   subsequently searched the left quarter panel and found a similar
18   type of false compartment containing numerous packages of the
19   same size and packaging type.         Mertz later observed field tests
20   of the packages, which tested screen positive for
21   methamphetamine.
22                                      ANALYSIS
23   A.   Motion to Suppress Evidence
24        The Fourth Amendment guarantees the right of citizens “to be
25   secure in their persons, houses, papers, and effects, against
26   unreasonable searched and seizures.”          U.S. Const. Amend. IV; see
27
          7
               Mertz’s report erroneously indicates that his dog
28   alerted at the left quarter panel.

                                            6
           Case 2:10-cr-00009-KJM Document 41 Filed 03/17/11 Page 7 of 15

 1   United States v. Ruckes, 586 F.3d 713, 716 (9th Cir. 2009).
 2   However, “the Fourth Amendment’s proper function is to constrain,
 3   not against all intrusions . . . but against intrusions which are
 4   not justified in the circumstances, or which are made in an
 5   improper manner.”    Schmerber v. California, 384 U.S. 757, 768
 6   (1966).    “The ‘touchstone of the Fourth Amendment is
 7   reasonableness.   The Fourth Amendment does not proscribe all
 8   state-initiated searches and seizures; it merely proscribes those
 9   which are unreasonable.’”     United States v. Willis, 431 F.3d 709,
10   714 (9th Cir. 2005) (quoting Florida v. Jimeno, 500 U.S. 248, 250
11   (1991)).
12        “Subject only to a few specifically established and well-
13   delineated exceptions, a search is presumed to be unreasonable
14   under the Fourth Amendment if it is not supported by probable
15   cause and conducted pursuant to a valid search warrant.”           Ruckes,
16   586 F.3d at 716 (internal quotations and citations omitted).
17   “When the [g]overnment does not meet the warrant requirement, it
18   has the burden of proving that the departure from this
19   requirement was justified.”     United States v. Gardner, 627 F.2d
20   906, 909 (9th Cir. 1980).
21        1.     Traffic Stop
22        Defendants argue that all evidence seized and statements
23   made by defendants by the side of the highway should be
24   suppressed because there was insufficient probable cause or
25   reasonable suspicion for the traffic enforcement stop of the
26   vehicle.   Specifically, defendants contend that Guerrero was not
27
28

                                         7
              Case 2:10-cr-00009-KJM Document 41 Filed 03/17/11 Page 8 of 15

 1   driving in excess of the speed limit8 and that Mertz pulled
 2   defendants over “solely on a pretextual basis” based upon their
 3   ethnicity9 and the out of state license plates on the vehicle.
 4        The protections of the Fourth Amendment “extend to brief
 5   investigatory stops of persons or vehicles that fall short of
 6   traditional arrest.”       United States v. Arvizu, 534 U.S. 266, 273
 7   (2002).     The Fourth Amendment permits an officer to conduct a
 8   traffic stop “if there is reasonable suspicion to conclude that a
 9   traffic violation occurred.”         Willis, 431 F.3d at 714-15; see
10   Whren v. United States, 517 U.S. 806 (1996) (holding that if
11   officers have probable cause to believe that a traffic violation
12   occurred, the officers may conduct a traffic stop even if the
13   stop serves some other purpose).
14        In this case, the court finds that there was sufficient
15   reasonable suspicion that a traffic violation had occurred to
16   justify the traffic stop.        Specifically, Officer Mertz testified
17   that he visually observed defendants’ vehicle traveling at a
18   speed in excess of the 70 mile per hour speed limit under rainy
19   conditions.      He confirmed this observation with a reading from
20   his stationary radar unit that the vehicle was traveling 77 miles
21
22
23
24        8
               The court notes that defendant Guerrero testified that
     he knew the vehicle was not exceeding the speed limit because he
25   was checking the car’s speedometer. However, both defendants
     also testified that they did not know whether the speedometer was
26   accurate.
27        9
               There is no evidence that Mertz could identify the race
     or ethnicity of defendants prior to the traffic stop.
28   Accordingly, this contention is wholly unsupported.

                                            8
           Case 2:10-cr-00009-KJM Document 41 Filed 03/17/11 Page 9 of 15

 1   per hour.10   Further, Officer Mertz also observed tinted windows
 2   and a small ornament hanging from the rearview window that, prior
 3   to the stop, he believed might have been violations.11         Because
 4   the court finds Officer Mertz’s testimony credible, the court
 5   concludes that there was reasonable suspicion that a traffic
 6   violation occurred and thus, that there was a reasonable basis to
 7   conduct a traffic stop.     Therefore, defendants’ motion to
 8   suppress evidence on this basis is DENIED.
 9        2.   Brief, Investigatory Stop
10        Defendants also argue that all evidence should be suppressed
11   because defendants were held for an unreasonable length of time
12   without a reasonable basis for an extended detention.
13        Under Terry v. Ohio and its progeny, the Fourth Amendment
14   allows police to conduct a brief, investigatory search or
15   seizure, so long as they have a reasonable, articulable suspicion
16   that justifies their action.      There is “no bright line rule for
17   determining when an investigatory stop crosses the line and
18
19        10
               Defense counsel also vigorously cross-examined Mertz
     regarding the accuracy of his radar unit. Mertz testified that,
20   in accordance with department policy, he tested the accuracy of
     the radar unit at both the beginning and end of his shift and
21   that the unit was functioning normally. Defendants failed to
     raise any issue that the radar unit was inaccurate. However,
22   under the facts of this case, even if defendants were able to
     demonstrate that the radar unit reading was in error, Mertz still
23   had a reasonable suspicion that the vehicle was speeding at the
     time he stopped defendants.
24
          11
               The observation and confirmation of the vehicle’s speed
25   were, by themselves, sufficient probable cause to conduct a
     traffic stop. However, at the time of the stop, Mertz also had
26   probable cause to believe that there may have been other traffic
     violations based on the tint of the windows and the ornament
27   hanging from the rearview mirror. That those circumstances may
     have been subsequently determined not to constitute violations
28   does not render Mertz’s suspicion unreasonable.

                                         9
             Case 2:10-cr-00009-KJM Document 41 Filed 03/17/11 Page 10 of 15

 1   becomes an arrest.”      United States v. Parr, 843 F.2d 1228, 1231
 2   (9th Cir. 1988).      Rather, whether a police detention is an arrest
 3   or an investigatory stop is a fact-specific inquiry that requires
 4   the court to consider all the circumstances between the
 5   individual and the police.        United States v. Torres-Sanchez, 83
 6   F.3d 1123, 1127 (9th Cir. 1996).           The court considers (1) the
 7   extent to which a person’s liberty of movement is curtailed; and
 8   (2) the type of force or authority employed.           Id.
 9           There is no rigid time limitation on Terry stops.          United
10   States v. Sharpe, 470 U.S. 675, 685 (1985).           Indeed, in order for
11   the investigatory purposes of Terry to be served, the police must
12   under certain circumstance be able to detain the individual for
13   longer than the brief time period involved in Terry.            Michigan v.
14   Summers, 452 U.S. 692, 700 n.12 (1981).           In assessing whether the
15   length of a stop exceeds the permissible time limitations for a
16   Terry stop, the court considers whether the officers “diligently
17   pursued a means of investigation that was likely to confirm or
18   dispel their suspicions quickly, during which time it was
19   necessary to detain the suspect.”           Torres-Sanchez, 83 F.3d at
20   1129.
21           The dispositive question is whether the methods used by the
22   police were reasonable under the specific circumstances.
23   Gallegos v. City of Los Angeles, 308 F.3d 987, 991 (9th Cir.
24   2002); Torres Sanchez, 83 F.3d at 1127 (holding that courts must
25   determine whether the stop was “reasonably related in scope to
26   the circumstances which justified the interference in the first
27   place”).
28   /////

                                           10
          Case 2:10-cr-00009-KJM Document 41 Filed 03/17/11 Page 11 of 15

 1        In this case, the court concludes that there was reasonable
 2   suspicion to conduct the brief detention of defendants before
 3   they were handcuffed.    Once the vehicle was stopped and Officer
 4   Mertz asked for a drivers’ license and registration, the
 5   discrepancies between the name and address on the license and the
 6   name and address on the registration came to light.         When Officer
 7   Mertz inquired into the ownership of the vehicle, defendants
 8   Garin and Guerrero had inconsistent stories.        Defendants also had
 9   inconsistent stories regarding the purpose and duration of their
10   stay in Madera.   Based upon his training and experience, the
11   apparent attempts of both defendants to distance themselves from
12   ownership of the vehicle as well as the inconsistencies relating
13   to the purpose and duration of the trip made Mertz suspicious
14   that one or both defendants were involved in some type of
15   criminal activity.   Accordingly, Mertz requested a registration
16   check on the vehicle to ensure that it wasn’t stolen.
17   Accordingly, Officer Mertz had reasonable suspicion to briefly
18   detain defendants.
19        There is no evidence that the manner of detention was
20   unreasonable under the circumstances.       There is no evidence that
21   officer “used no threats of force, . . . exaggerated displays of
22   authority or other coercive tactics.”       See Torres-Sanchez, 83
23   F.3d at 1129.   Rather, the testimony of all witnesses at the
24   evidentiary hearing was consistent that defendants willingly
25   complied with Mertz’s requests.      Indeed, defendant Guerrero
26   testified when Mertz asked him to get out of the car, he felt he
27   could choose to remain in the car or get out.        Mertz also
28   testified that he subsequently asked both Garin and Guerrero to

                                        11
          Case 2:10-cr-00009-KJM Document 41 Filed 03/17/11 Page 12 of 15

 1   move behind his patrol car prior to conducting the exterior K9
 2   search for safety reasons.     Prior to the K-9's alert at the
 3   interior of the car, defendants were not placed in handcuffs or
 4   in the patrol car.   Moreover, there is no evidence that Mertz
 5   ever physically touched defendants.
 6        Further, the length of the investigatory stop was reasonable
 7   under the circumstances.    Mertz testified that from the time he
 8   pulled over the car until the time defendants were handcuffed,
 9   approximately ten minutes had elapsed.       The only stagnant time
10   period was the approximately two minutes that elapsed when he was
11   waiting for Newman to arrive as back-up; as such, there is no
12   evidence that Mertz unnecessarily delayed the brief
13   investigation.   See Torres-Sanchez, 83 F.3d at 1129; cf. United
14   States v. Motley, 344 Fed. Appx. 445 (9th Cir. 2009) (holding
15   that a 30 minute delay between time officer completed independent
16   investigation and time narcotics K-9 arrived violated the
17   defendant’s Fourth Amendment rights).       Mertz also testified that
18   the entire stop took approximately the same amount of time it
19   would take to stop a car and issue a traffic citation.          See
20   Illinois v. Caballes, 543 U.S. 405, 405 (2005) (holding that the
21   time it took to conduct an exterior dog sniff did not violate the
22   defendant’s Fourth Amendment rights when the duration of the stop
23   was justified by the traffic offense and the ordinary inquiries
24   incident to such a stop).
25        Accordingly, under the totality of the circumstances, the
26   court concludes that Officer Mertz’s conduct was a reasonable
27   investigatory stop made in an attempt to dispel or confirm his
28   suspicions of criminal activity; the brief detention never rose

                                        12
           Case 2:10-cr-00009-KJM Document 41 Filed 03/17/11 Page 13 of 15

 1   to the level of a de facto arrest.        Therefore, defendants’ motion
 2   to suppress evidence on this basis is DENIED.
 3        3.      Search of the Vehicle
 4        Defendants also move to suppress evidence seized from the
 5   search of the car on the basis that there was insufficient
 6   probable cause to search the interior of the car.
 7        Use of a well-trained narcotics detection dog to perform a
 8   “sniff” of the exterior of a car during a traffic stop does not
 9   implicate any legitimate Fourth Amendment privacy interests.
10   Caballes, 543 U.S. at 409.      If a drug detection dog alerts for
11   the presence of illegal narcotics, that alert provides probable
12   cause to conduct a warrantless search pursuant to the automobile
13   exception12 to the warrant requirement.       United States v. Garcia,
14   205 F.3d 1182, 1187 (9th Cir. 2000) (citing United States v.
15   Ross, 456 U.S. 798, 807 (1982)).
16        In this case, Mertz’s K-9 alerted to the presence of
17   narcotics during an exterior sniff of the vehicle; this provided
18   sufficient probable cause for the interior search of the
19   vehicle.13    Approximately six minutes after the traffic stop and
20   after defendants gave inconsistent statements regarding ownership
21
          12
               Pursuant to the automobile exception to the warrant
22   requirement, police officers who have stopped an automobile
     legitimately and who have probable cause to believe that
23   contraband is concealed somewhere within it may conduct a
     warrantless search of the vehicle. United States v. Garcia, 205
24   F.3d 1182, 1187 (9th Cir. 2000).
25        13
               Defendants assert that Mertz conducted a search of the
     car by poking the interior of the car with a forked end of a
26   metal rod prior to the use of his K-9. However, the credible
     evidence produced at the hearing does not support this version of
27   the facts. Indeed, contrary to the representations made in
     defendants’ moving papers, defendant Garin testified that Mertz
28   went in the car after he walked the dog around the exterior.

                                          13
             Case 2:10-cr-00009-KJM Document 41 Filed 03/17/11 Page 14 of 15

 1   of the vehicle and the purpose and duration of their trip, Mertz
 2   deployed his dog to the exterior of the vehicle.            The K-9 alerted
 3   to the exterior of the car by the right rear wheel well and in
 4   the left trunk seam area.        This constituted sufficient probable
 5   cause to allow the search the interior of the vehicle by the K-9
 6   and then by Mertz.
 7           Because the court finds Officer Mertz’s testimony credible,
 8   the court concludes that the K-9 alert during the exterior sniff
 9   of the car provided probable cause to search the car.            Therefore,
10   defendants' motion to suppress evidence on this basis is DENIED.
11   B.      Motion to Suppress Statements
12           “In Miranda v. Arizona, the Supreme Court held that
13   statements that are not the product of interrogation not preceded
14   by appropriate warnings are inadmissible, where the accused was
15   questioned while ‘in custody or otherwise deprived of his freedom
16   of action in a significant way.’”          United States v. Beraun-Panez,
17   812 F.2d 578, 580 (9th Cir. 1987) (quoting Miranda, 384 U.S. at
18   444).    In the Ninth Circuit, a person is “in custody” for
19   purposes of Miranda “when, based upon a review of all pertinent
20   facts, ‘a reasonable innocent person in such circumstances would
21   conclude that after brief questioning he or she would not be free
22   to leave.’”     United States v. Wauneka, 770 F.2d 1434, 1438 (9th
23   Cir. 1985) (quoting United States v. Booth, 669 F.2d 1231, 1235
24   (9th Cir. 1981)).      This inquiry is measured by an objective
25   standard.     Beraun-Panez, 812 F.2d at 580.       Moreover, the
26   interpretation of “custody” under Miranda has been “narrowly
27   circumscribed.”      United States v. Nieblas, 115 F.3d 703, 705 (9th
28   Cir. 1997).     “To determine whether an individual was in custody,

                                           14
           Case 2:10-cr-00009-KJM Document 41 Filed 03/17/11 Page 15 of 15

 1   a court must, after examining all of the circumstances
 2   surrounding the interrogation, decide ‘whether there was a formal
 3   arrest or restraint on freedom of movement of the degree
 4   associated with a formal arrest.”        United States v. Kim, 292 F.3d
 5   969, 973 (9th Cir. 2002) (quoting Stansbury v. California, 511
 6   U.S. 318, 322 (1994)).
 7        Because, as set forth above, the court concludes that, under
 8   the totality of the circumstances, Officer Mertz’s conduct was a
 9   brief, investigatory stop and not a de facto arrest, Miranda
10   warnings were not necessary.      See Torres-Sanchez, 83 F.3d at 1130
11   (noting that because the defendant was not under arrest, Miranda
12   warnings were not necessary).      While the evidence demonstrates
13   that defendants were detained, there is insufficient evidence
14   that they were in custody, such that their Miranda rights would
15   be implicated.14
16        Therefore, defendants' motion to suppress statements made
17   during the traffic stop is DENIED.
18                                  CONCLUSION
19       For the foregoing reasons, defendants’ motions to suppress
20   are DENIED.   The matter is set for a further status conference on
21   April 4, 2011 at 10:00 a.m.      Time is excluded under T-4.
22        IT IS SO ORDERED.
23   DATED: March 17, 2011
24
                                       FRANK C. DAMRELL, JR.
25                                     UNITED STATES DISTRICT JUDGE
26
          14
               Moreover, it is undisputed that after defendants were
27   handcuffed, Mertz did not have a conversation with either
     defendant and neither defendant made any further statements until
28   they arrived at CHP headquarters.

                                         15
